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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE STACY SYLVESTER LEE MERRITT, SR
                                    §.
                                    §
                                    §
                                    §                       3:18-MC-00042-B
                                    §
                                    §

                                             ORDER

       The Court has considered the response Stacey Lee Merritt, Sr. filed in this matter and has

determined that discipline under the Court’s local rules is not warranted. Accordingly, this matter

is ADMINISTRATIVELY CLOSED.

       SO ORDERED.

       AUGUST 7, 2018.




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                                             JANE J. BOYLE
                                             UNITED STATES DISTRICT JUDGE
